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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA



MICHAEL R. MCFARLAND                               CIVIL ACTION NO.:


VERSUS                                             SECTION:


NATIONAL CASUALTY COMPANY,                         MAGISTRATE
MIDNIGHT EXPRESS, INCORPORATED,
M & J TRANSPORT, L.L.C., and CALEB J.
SEDGWICK


                                  NOTICE OF REMOVAL

       NOW INTO COURT, through undersigned counsel, comes National Casualty Company,

who files this Notice of Removal pursuant to 28 U.S.C. §1332 and 1441, to hereby remove this

matter from state court to the docket of this Honorable Court, and respectfully represents the

following:

                                       BACKGROUND

                                              I.

       Michael R. McFarland, Plaintiff herein, filed a lawsuit styled Michael R. McFarland vs.

National Casualty Company, Midnight Express, Incorporated, M & J Transport, L.L.C., and

Caleb Sedgwick in the 31st Judicial District Court for the Parish of Jefferson Davis, State of

Louisiana, No. C-460-18, naming National Casualty Company, Midnight Express, Incorporated,

M & J Transport, L.L.C, and Caleb J. Sedgwick as Defendants. The suit seeks damages for

physical pain and suffering, mental pain and anguish, lost wages and economic opportunity,

permanent injuries and disability, and permanent disability for Plaintiffs’ alleged injuries


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sustained from a purported automobile accident occurring in Parish of Jefferson Davis, Louisiana

on August 22, 2017. (See Petition for Damages attached as Exhibit “1”)

                                                 II.

        The state court action commenced on July 13, 2017. These Defendants received notice on

or after August 8, 2018; therefore, removal is timely under 28 U.S.C. § 1446(B)(1)-(3).

                                       BASIS OF REMOVAL

                                                III.

        This suit is removable to this Court under and by virtue of the federal statutes and acts of

the Congress of the United States, including 28 U.S.C. § 1332 and 28 U.S.C. § 1441, which

provide federal district courts with original jurisdiction in cases where the matter in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs, and is between citizens of

different states.

                                                IV.

        Caleb J. Sedgwick is a citizen of and domiciled in the State of West Virginia.

                                                 V.

        Midnight Express, Inc. is incorporated in West Virginia with its principal place of

business in West Virginia. (See Midnight Express, Inc. – West Virginia Secretary of State,

attached as Exhibit 2).

                                                VI.

        M & J Transport, L.L.C. is a limited liability company based in West Virginia consisting

of three members: (1) Frank Gallo; (2) Edward Dale Goff; and (3) Melissa Kay Hall. All three

members are domiciled in the State of West Virginia. (See M & J Transport, L.L.C. – West

Virginia Secretary of State, attached as Exhibit 3).




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                                               VII.

       National Casualty Company is incorporated in the State of Ohio with its principal place

of business in the State of Ohio. (See National Casualty Company – Ohio Secretary of State,

attached as Exhibit 4)

                                               VIII.

       Michael R. McFarland is a citizen of the State of Louisiana.

                                                IX.

       Because Plaintiff is a citizen of the State of Louisiana and all Defendants are citizens of

states other than Louisiana, complete diversity of citizenship exists among the parties.

                                                IX.

       Under United States Fifth Circuit Court of Appeals precedent, a defendant may establish

that the amount in controversy exceeds $75,000 by either demonstrating that it is facially

apparent from the petition that the claim likely exceeds $75,000, or by setting forth the facts in

controversy that support a finding of the requisite amount. Grant v. Chevron Phillips Chem. Co.,

309 F.3d 864, 868 (5th Cir. 2002).

                                                X.

       If a defendant can show by a preponderance of the evidence that the amount in

controversy exceeds the jurisdictional amount, the “plaintiff can defeat diversity jurisdiction only

by showing to a ‘legal certainty’ that the amount in controversy does not exceed $75,000.”

Grant v. Chevron Phillips Chem. Co., 309 F.3d 864, 869 (5th Cir. 2002) (quoting De Aguilar v.

Boeing Co., 47 F.3d 1404, 1412 (5th Cir. 1995)).




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                                                 XI.

        Since Article 893 of the Louisiana Code of Civil Procedure prohibits a plaintiff from

pleading a specific dollar amount of damages, no specific dollar amount is provided in the

Plaintiffs’ Petition. For purposes of removal, however, it is facially apparent from the Petition

that the amount in controversy exceeds $75,000, exclusive of interest and costs.

                                                XII.

        In the Petition, for example, Plaintiff alleges that defendant, Caleb Sedgwick, rear-ended

his vehicle while driving on Interstate 10 in Jefferson Davis Parish. The Petition further alleges

that Sedgwick’s actions were “reckless and negligent” and caused harm to the Plaintiff. (See

Petition for Damages, ¶¶ 2 & 7 , attached as Exhibit “1”).

                                                XIII.

        Based on these allegations, Plaintiff Michael R. McFarland claims he suffered personal

injuries that necessitated medical treatment. Id. at ¶ 7. Further, Plaintiff Michael R. McFarland

claims that the accident caused damages for past, present, and future pain and suffering, mental

pain and anguish, permanent injury and disability, loss of wages and economic opportunity, and

loss of enjoyment to life. Id.

                                                XIV.

        Based on the allegations of Plaintiff’s Petition for Damages, it is facially apparent that the

amount in controversy exceeds $75,000, exclusive of interest and costs, for this Court to assume

jurisdiction over this matter under 28 U.S.C. § 1332.

                                                XV.

        Defendant does not admit the underlying facts alleged by Plaintiff and denies liability to

Plaintiff.




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                                  REMOVAL PROCEDURE

                                               XVI.

       This Defendant contacted all Defendants who have been properly joined and served with

Plaintiffs’ petitions and all Defendants consent to this removal. This satisfies the requirement

that all defendants who have been properly served with Plaintiffs’ petition affirmatively consent

to the removal of this action. See Lewis v. Rego Co., 757 F.2d 66, 68 (observing that notice of

removal filed before all non-resident defendants served with process still effective).

                                               XVII.

       This Notice of Removal is filed within 30 days of the receipt by or service upon the

defendant of a copy of the initial pleading setting forth the claim for relief upon which the action

or proceeding is based.

                                              XVIII.

       The state court action was commenced on July 13, 2018 and this removal has been filed

within one (1) year after its commencement.

                                               XIX.

       Venue for removal is appropriate within the Western District of Louisiana because the

matter is being removed from the 31st Judicial District Court for the Parish of Jefferson Davis—

a court which the Western District of Louisiana embraces, and more specifically:

               The Honorable Steve Gunnell
               31st Judicial District Court, Parish of Jefferson Davis
               300 North State Street, Suite 202
               Jennings, Louisiana 70546
               Office: (337) 824-3506
               Fax: (337) 824-8985




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                                               XX.

       Under 28 U.S.C. § 1446(d), the movers affirm that they will give written notice of this

removal to all adverse parties and will file a copy of the Notice with 31st Judicial District Court

Parish of Jefferson Davis. No defendant objects to the filing of this Removal.

                                              XXI.

       Pursuant to 28 U.S.C. § 1447(b) and LR 3.2, movers identify all known counsel as

follows:

   a. Counsel for Plaintiff – Michael R. McFarland
      Trey Morris (#28162)
      Elizabeth A. Hancock (#35487)
      509 Milam Street
      Shreveport, Louisiana 71101
      Telephone: (318)221-1507
      Fax: (318)221-4560

   b. Counsel for Defendant—National Casualty Company
      Doris T. Bobadilla (#24025)
      Andrea L. Albert (#27353)
      Ryan D. O’Connor (#35272)
      Galloway, Johnson, Tompkins, Burr & Smith
      #3 Sanctuary Boulevard, Third Floor
      Mandeville, Louisiana 70471
      Phone: (985) 674-6680
      Facsimile: (985) 674-6681

   b. Counsel for Defendant—M & J Transport, LLC and Caleb Sedgwick
      Robert A. Mahtook
      Mahtook & LaFleur, LLC
      600 Jefferson Street, Suite 1000
      Lafayette, Louisiana 70501
      Phone: (337) 266-2189
      Facsimile: (337) 266-2303




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                                               XXII.

        Further pursuant to 28 U.S.C. § 1447(b), a complete copy of the state court record has

been requested from the 31st Judicial District Court. Upon receipt, movers will supplement this

filing with a copy all state court pleadings, including any answers and any return of service of

process filed in state court so far.

                                              XXIII.

        Pursuant to Rule 11 of the Federal Rules of Civil Procedure, undersigned counsel

certifies that she has read the foregoing Notice of Removal. She likewise certifies that to the best

of her knowledge, information, and belief formed after reasonable inquiry, the Notice is well-

grounded in fact and is warranted by existing law or good faith argument for the extension,

modification, or reversal of existing law, and that it is not interposed for any improper purpose.

                                              XXIV.

        National Casualty Company requests a trial by jury.

        WHEREFORE, Defendant, National Casualty Company, prays that this Notice be

accepted as good and sufficient, and that this civil action be removed from the 31st Judicial

District Court Parish of Jefferson Davis, State of Louisiana, to the docket of this Honorable

Court for determination as provided by law, and that this Court enter such Orders and issue such

process as may be proper, including copies of records and proceedings of the action from the

31st Judicial District Court Parish of Jefferson Davis State of Louisiana, and then proceed with

the civil action as if it had been originally commenced in this Court.




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                                            Respectfully submitted,

                                             /s/ Andrea L. Albert_________________
                                            DORIS T. BOBADILLA (#24025)
                                            ANDREA L. ALBERT (#27353)
                                            RYAN D. O’CONNOR (#35272)
                                            GALLOWAY, JOHNSON, TOMPKINS,
                                               BURR & SMITH
                                            #3 Sanctuary Boulevard, Third Floor
                                            Mandeville, Louisiana 70448
                                            Telephone: (985) 674-6680
                                            Facsimile: (985) 674-6681
                                            Attorneys for Defendant National Casualty
                                            Company



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of September, 2018 a copy of the foregoing pleading

has been served on all parties or their attorneys in a manner authorized by FRCP 5(b)(2) or via

the court’s CM/ECF system.

                                            /s/ Andrea L. Albert_________________
                                            ANDREA L. ALBERT




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